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Matthew P. Goren

Proposed Attorneys for the Parent Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :   Chapter 11
                                                               :
ALL YEAR HOLDINGS LIMITED,                                     :   Case No. 21-12051 (MG)
                                                               :
                           Debtor.   1
                                                               :
                                                               :
Fed. Tax Id. No. XX-XXXXXXX                                    :
---------------------------------------------------------------X

                         NOTICE OF STATUS CONFERENCE SCHEDULED
                        FOR MARCH 29, 2022 AT 2:00 P.M. (EASTERN TIME)

                    PLEASE TAKE NOTICE that a status conference for All Year Holdings Limited,

as debtor and debtor in possession (the “Parent Debtor”) in the above-referenced chapter 11 case,

will be held before the Honorable Martin Glenn, United States Bankruptcy Judge, at the United

States Bankruptcy Court for the Southern District of New York, Courtroom 523, One Bowling

Green, New York, New York 10004 (the “Bankruptcy Court”) on March 29, 2022, at 2:00 p.m.

(Prevailing Eastern Time) (the “Status Conference”).

                    PLEASE TAKE FURTHER NOTICE that due to the COVID-19 pandemic,

the Status Conference will be conducted using Zoom for Government. Parties should not



1
     The Parent Debtor’s principal offices are located at 199 Lee Avenue, Suite 693, Brooklyn, New York 11211.




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appear in person and those wishing to appear or participate at the Status Conference

(whether “live” or “listen only”) must make an electronic appearance prior to 4:00 p.m.

(Eastern         Time)        on   March    28,   2022    by    using    the    following   link:

https://ecf.nysb.uscourts.gov/cgi-bin/nysbAppearances.pl.          Instructions for making an

eCourt Appearance and additional information on the Court’s Zoom procedures can be

found at http://www.nysb.uscourts.gov/content/judge-martin-glenn.


Dated: February 18, 2022
       New York, New York
                                             /s/ Matthew P. Goren
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